9/12/2017                                 Milligan Rona Duran
                           Case 1:16-cr-10096-PBS             & King LLC Mail
                                                          Document       877-1- Character
                                                                                     Filedletter09/13/17
                                                                                                for Denzel Chisholm
                                                                                                                Page 1 of 1

                                                                                                 Leonard Milligan <lem@mrdklaw.com>



  Character letter for Denzel Chisholm 
  2 messages

  Nyshia Delle Femine <nyshiadf@gmail.com>                                                                    Mon, Sep 11, 2017 at 3:50 PM
  To: lem@mrdklaw.com

    To Whom It May Concern,

    I am writing to tell you about my nephew Denzel Chisholm. As his Aunt I have known Denzel since the day he was born,
    and watched with pride as he has grown into the man that he is now. Denzel has made some mistakes in life, but at the
    same time he has done a lot of really good things, and done them better than most men his age.

    If you asked people who knew Denzel what was most important to him, every one of them would say family. He has 5
    small children who have always been at the top of his priorities. When he was home, not one day went by where he didn't
    spend time with his boys, helping with their school work, or just sitting down with them for dinner because he wanted to
    hear about their day. In a time when too many young men don't know their fathers, a quality dad makes a difference in
    society. Denzel knows this and tries every day to break out of that mold.

    2 years ago Denzel's mother suffered a brain aneurysm, and the doctors didn't give us much hope for her future. Even
    though they said she would probably be institutionalized for the remainder of her life, he wasn't willing to accept that. He
    was the first one to the hospital, sometimes not leaving for days.  when her condition started to improve, he refused to
    leave her with strangers. He took the responsibility on himself to  rent a house that the family could take her home to, and
    worked with her tirelessly to try to rebuild the damage done to her brain. I can honestly say that Denzel is a huge factor in
    why I still have a sister today.

    Thank you for your time in reading this and the fairness I trust you will treat Denzel.

    Sincerely, 
    Nyshia DelleFemine



  Leonard Milligan <lem@mrdklaw.com>                                                                          Mon, Sep 11, 2017 at 4:02 PM
  To: Nyshia Delle Femine <nyshiadf@gmail.com>

    Thank You.
    [Quoted text hidden]
    ­­  
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